                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )       Civil Case No. 14 CV 1653
       v.                                    )       (related Criminal Case No. 03 CR 175)
                                             )
                                             )       Judge Robert M. Dow, Jr.
ANTHONY SINGLETON                            )

                          MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Petitioner Anthony Singleton’s motion to vacate, set

aside, or correct sentence by person in federal custody pursuant to 28 U.S.C. § 2255 [1]. For the

reasons stated below, the Court denies Petitioner Singleton’s motion to vacate, set aside, or

correct sentence [1].

I.     Background

       A.      The Underlying Proceedings

       On February 20, 2003, a grand jury returned a three-count indictment charging Anthony

Singleton with the theft of mail matter and the possession of postal arrow keys, in violation of 18

U.S.C. §§ 1704 and 1708. During the ensuing proceedings, Judge David H. Coar appointed

three different attorneys to represent Singleton. R. 10, 21, 22, 34-36, 59. Singleton, however,

was unable to work with any of these appointed attorneys. Judge Coar ultimately allowed all

three of these attorneys to withdraw from their representation of Singleton, so Singleton

proceeded pro se at trial and sentencing. R. 10, 21, 22, 34-36, 59.

       The relationship between Singleton and his third appointed counsel apparently began to

disintegrate around December 2003, when Singleton began to file various documents asserting

challenges to the district court’s jurisdiction. R. 45-49. In January 2004, based upon Singleton’s

filings, Judge Coar ordered a psychological examination of Singleton in order to determine
whether he was competent to stand trial. R. 51. The examination report was filed on March 18,

2004, and Judge Coar subsequently set the matter for trial. R. 59-60. The jury trial commenced

on May 3, 2004 and, after a two day trial, the jury returned verdicts of guilty on all counts. R. 76,

81. Throughout the period before and after trial, Singleton continued to file various documents

making untenable claims. R. 53-55, 62-63, 67-68,70-72, 83-86, 89-90, 92-93, 96.

       At sentencing, the government demonstrated that Singleton utilized stolen mail to steal

the identities of hundreds of victims and that he caused verifiable losses exceeding $120,000.

Judge Coar sentenced Singleton to 115 months imprisonment and three terms of supervised

release, with each term of supervised release to be served concurrently. R. 99. Singleton

continued to file various documents making the same types of jurisdictional claims after Judge

Coar’s sentencing (see, e.g., R. 100-116), but never sought to appeal his conviction or sentence.

Singleton also continued to file various documents making similar, untenable claims throughout

the period of his incarceration. R. 101-10, 113-16, 118-23, 125-26, 128-31 133-35, 137.

       B.      The Revocation Proceedings

       Singleton was released from his term of imprisonment on September 2, 2011, and

reported to the U.S. Probation Office. At that time, Singleton was instructed to report back to the

U.S. Probation Office on September 14, 2011, in order to meet with his probation officer and

review the terms of his supervised release. Singleton reported to the office on September 14,

2011, but refused to meet with his probation officer. The probation officer subsequently

contacted Singleton, and Singleton told the probation officer that he was not under any

obligation to meet with the officer. On or about September 29, 2011, the probation officer filed a

special report with the Court noting that Singleton had violated the terms of his supervised

release. The government subsequently moved to revoke Singleton’s supervised release. R. 145.




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Singleton appeared for a hearing in November 2011, and the Court entered and continued the

government’s motion. The Court also appointed counsel to represent Singleton in connection

with the revocation proceedings. R. 148-49.

        Singleton continued his pattern of claiming, among other things, a lack of jurisdiction and

the government’s release of claims against him during the pendency of the revocation

proceedings. For example, on December 8, 2011, Singleton filed a document entitled “Notice of

Prohibition Affidavit” in which he claimed, among other things, as follows:

        As such indicated above, all encumbrances held by the UNITED STATES against
        the trust described as "Defendant" were caused to be removed by an operation of
        law, and a contractual bond was established which strictly prohibits the UNITED
        STATES under federal law against attachments, liens, the issuance, docketing,
        filing, or the levy of or under any judgment, decree, execution, acquisition of any
        interest of any nature whatsoever by reason of a judgment or decree, for the
        fulfillment of any condition, or the exercise of any power of appointment, power
        of attorney, or other power presumed to exist, performed within the UNITED
        STATES for the purpose, intent, or effect of which is to create, surrender, release,
        transfer, or alter, directly or indirectly, any right, remedy, power, privilege, or
        interest with respect to any property ANTHONY SINGLETON, aka ANTHONY
        SINGLETON HALL has an interest * * *.

R. 153. Singleton also attached UCC Financing Statements that he apparently filed with the

Illinois Secretary of State in which Singleton claimed that he had interest in the personal

property of the Attorney General of the United States as well as the United States Department of

Justice. R. 153.1

        On December 30, 2011, Singleton was arrested by the New York Police Department on

charges of grand larceny and possession of a forged instrument. Following his arrest in New

York, this Court entered a warrant for Singleton’s arrest when he failed to appear for a rule to

show cause hearing. R. 155.

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  Singleton has made numerous such filings in Illinois and other states alleging non-existent debts owed
by prosecutors, agents, BOP officials, judges, and probation officers. Singleton attached two such filings,
naming the prosecutor and probation officer, to a “Notice of Interest” filed with the Court on November
14, 2011. R. 147.


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       Singleton was convicted in New York and sentenced to time served on March 26, 2013,

after being in custody for a period of approximately fifteen months. Upon the completion of his

sentence, local authorities turned Singleton over to the United States Marshal’s Service in New

York. Singleton was removed from Southern District of New York to this district, where he

appeared on May 22, 2013. R. 158, 163. In June 2013, Singleton’s appointed counsel moved to

withdraw from the representation based upon “irreconcilable differences.” R. 165. On June 18,

2013, the Court granted counsel’s motion to withdraw and ordered that Singleton would have to

represent himself pro se based upon his refusal to cooperate with counsel.               R. 167-68.

Consistent with his prior pattern of obstruction, Singleton continued to challenge the jurisdiction

of the Court and was generally not responsive to inquiries from the Court. On July 18, 2013, the

Court found Singleton in violation of his terms of supervised release, revoked all three terms of

supervised release, and imposed a total term of thirty-six months imprisonment. R. 172. Despite

being advised of his right to appeal, Singleton never filed an appeal of the sentence.

II.    Analysis

       Singleton filed the current motion on March 7, 2014. In the motion, Singleton contends

that four reasons exist to set aside his sentence. First, he contends that the Court violated his

constitutional right to representation by forcing him to proceed without an attorney at his

revocation hearing. Second, he complains that he was never provided with a written statement of

the conditions of supervised release or otherwise advised of those conditions by the U.S.

Probation Office. Third, he argues that the Court improperly calculated the advisory Guideline

range. Finally, he contends that the Court erred in relying on a certification of disposition from

the clerk’s office in New York and complains about not receiving credit for time spent in state

custody prior to his sentencing in this matter.




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       Relief under § 2255 is an uncommon remedy because it requires the district court “to

reopen the criminal process to a person who already has had an opportunity for full process.”

McMahan v. United States of America, 2009 WL 509869, at *1 (N.D. Ill. Mar. 2, 2009). A §

2255 motion to vacate to set aside or correct a sentence will be granted only if the petitioner

establishes “that the district court sentenced [her] in violation of the Constitution or laws of the

United States or that the sentence was in excess of the maximum authorized by law or is

otherwise subject to collateral attack.” Hays v. United States, 397 F.3d 564, 566-67 (7th Cir.

2005)). If a § 2255 petitioner does not raise a claim in her direct appeal, that claim is barred

from the Court’s collateral review unless the petitioner can demonstrate cause for the procedural

default and actual prejudice from the failure to appeal (see Fuller v. United States, 398 F.3d 644,

648 (7th Cir. 2005)), that enforcing the procedural default would lead to a ‘fundamental

miscarriage of justice” (Anderson v. Benik, 471 F.3d 811, 815 (7th Cir. 2006), or that there has

been a change of circumstances involving facts or law (Varela v. United States, 481 F.3d 932,

935 (7th Cir. 2007)).

       All of the claims advanced by Singleton in this case have been procedurally defaulted by

his failure to file a timely appeal. A § 2255 motion is “neither a recapitulation of nor a substitute

for a direct appeal.” Belford v. United States, 975 F.2d 310, 313 (7th Cir. 1992). A claim cannot

be raised in a § 2255 motion if it could have been raised on direct appeal. Sandoval v. United

States, 574 F.3d 847, 850 (7th Cir. 2009); Galbraith v. United States, 313 F.3d 1001, 1006 (7th

Cir. 2002); McCleese v. United States, 75 F.3d 1174, 1177 (7th Cir. 1996). A petitioner can only

avoid the application of this procedural default if he shows good cause for and prejudice from the

failure to appeal. Galbraith, 313 F.3d at 1006; Fuller v. United States, 398 F.3d 644, 648 (7th

Cir. 2005).




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        Here, despite being advised of his appellate rights by the Court, Singleton never filed an

appeal and, thereby, procedurally defaulted all of his claims. Furthermore, Singleton has failed

to show good cause for and prejudice from the failure to appeal. Although he did not file an

appeal of his sentence, Singleton has filed numerous other lawsuits seeking to challenge the

Court’s sentence. See Internal Revenue Service ex rel. Anthony Singleton Hall v. United States,

13 C 8434 (N.D. Ill.) (J. Lefkow); Anthony Singleton-Hall v. United States, et al., 14 C 25 (N.D.

Ill.) (J. Der-Yeghiayan). These lawsuits have all been dismissed. Singleton appealed the district

court’s dismissal of his lawsuit in Case No. 13 C 8434, but the appeal also was also dismissed.

See Appeal Nos. 13-3868, 13-3878, and 14-1045 (7th Cir.). Singleton’s ability to bring multiple

lawsuits challenging the Court’s sentence, but failure to appeal his sentence, belies any argument

that he had good cause for failing to appeal. Moreover, a petitioner’s pro se status alone does not

constitute cause in a cause-and-prejudice analysis. Smith v. McKee, 598 F.3d 374, 385 (7th Cir.

2010) (citing Harris v. McAdory, 334 F.3d 665, 668 (7th Cir. 2003)); Barksdale v. Lane, 957

F.2d 379, 385-86 (7th Cir. 1992). Thus, all of Singleton’s claims are procedurally defaulted.2



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   Although the Court need not reach the merits of any of Singleton’s procedurally-defaulted claims, the
Court briefly addresses his claim that his sentence should be set aside because it was premised upon an
improperly calculated Guidelines range. Singleton contends that his highest violation was a Grade B
violation, not a Grade A violation, and therefore that his sentencing range was only eighteen to twenty-
four months. The Court agrees that Singleton’s highest graded violation, namely, his commission of a
state crime in New York, was a Grade B violation, and not a Grade A violation. Aside from the fact that
this claim is procedurally defaulted, a miscalculation of the Guidelines range generally does not warrant
relief under § 2255 as such an error does not constitute a constitutional or jurisdictional error and
typically does not result in a miscarriage of justice. See Hawkins v. United States, 706 F.3d 820, 823-24
(7th Cir. 2013); Welch v. United States, 604 F.3d 408, 412 (7th Cir. 2010); Scott v. United States, 997
F.2d 340, 342-43 (7th Cir. 1993); but see Narvaez v. United States, 674 F.3d 621 (7th Cir. 2011). Here,
there was no miscarriage of justice resulting from the error in the Guidelines calculation. The sentence
imposed fell well below the statutory maximum of seventy-two months imprisonment and the Court was
aware that the Guidelines were advisory, as they have always been for supervised release violations.
Furthermore, the Court would have arrived at the same decision regardless of the advisory range. In
imposing sentence, the Court noted that Singleton’s sentence of imprisonment should be equivalent to the
thirty-six month term of supervised release that Singleton refused to serve as a result of his obstructive
conduct in refusing to cooperate with his probation officer.


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III.   Certificate of Appealability

       Under the 2009 Amendments to Rule 11(a) of the Rules Governing Section 2254

Proceedings, the “district court must issue or deny a certificate of appealability when it enters a

final order adverse to the applicant.” Accordingly, the Court must determine whether to grant

Petitioner Singleton a certificate of appealability pursuant to 28 U.S.C. § 2253(c)(2).

       A habeas petitioner does not have the absolute right to appeal a district court’s denial of

his habeas petition; instead, he must first request a certificate of appealability. See Miller–El v.

Cockrell, 537 U.S. 322, 335 (2003); Sandoval v. United States, 574 F.3d 847, 852 (7th Cir.

2009). A habeas petitioner is entitled to a certificate of appealability only if he can make a

substantial showing of the denial of a constitutional right. Miller–El, 537 U.S. at 336; Evans v.

Circuit Court of Cook County, Ill., 569 F.3d 665, 667 (7th Cir. 2009). Under this standard,

Petitioner must demonstrate that “reasonable jurists could debate whether (or, for that matter,

agree that) the petition should have been resolved in a different manner or that the issues

presented were adequate to deserve encouragement to proceed further.” Miller–El, 537 U.S. at

336 (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)). And in cases where a district court

denies a habeas claim on procedural grounds, the habeas court should issue a certificate of

appealability only if the petitioner shows that (1) jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right, and (2) jurists of

reason would find it debatable whether the district court was correct in its procedural ruling. See

Slack, 529 U.S. at 485.

       Consistent with the discussion above, the Court concludes that Petitioner Singleton has

not made a substantial showing of the denial of a constitutional right, nor would reasonable




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jurists differ on the Court’s assessment of Petitioner’s claims. Thus, the Court declines to certify

any issues for appeal pursuant to 28 U.S.C. § 2253(c)(2).

IV.    Conclusion

       For the reasons set forth above, the Court denies Petitioner Singleton’s motion to vacate,

set aside, or correct sentence by person in federal custody pursuant to 28 U.S.C. § 2255 [1],

declines to certify any issue for appeal, and directs the Clerk to enter judgment in favor of the

United States.



Dated: July 17, 2014                                 __________________________________
                                                     Robert M. Dow, Jr.
                                                     United States District Judge




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